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UNITED STATES DISTRICT COURT
                                                          1/12/2021
SOUTHERN DISTRICT OF NEW YORK
                                      X
UNITED STATES OF AMERICA,             :       19 CR 97 (VM)
                                      :
           -against-                  :
                                      :          ORDER
ABRAHAM HERNANDEZ,                    :
                                      :
                     Defendant.       :
                                      X
VICTOR MARRERO, U.S.D.J.:

     Trial in this matter is currently scheduled to begin on

March 15, 2021. In light of the worsening pandemic and Chief

Judge McMahon’s recent standing order on trial scheduling,

(see 20-mc-622, Dkt. No. 3), the Court believes it is unlikely

this trial can proceed as scheduled. The Court estimates that

the earliest it might be able to proceed with this trial would

be in the period of June/July 2021. The Court asks the parties

to submit to the Court their availability in this timeframe

to facilitate scheduling a new trial date.

SO ORDERED:
Dated: New York, New York
       12 January 2021
